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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

KRISTIN FRYE,                                )
                                             )
       Plaintiff,                            )
                                             )
               v.                            )       CAUSE NO: 1:21-cv-03070
                                             )
DONALDSON COMPANY, INC.                      )
                                             )
       Defendant.                            )

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiff, KRISTIN FRYE, hereafter Plaintiff, by counsel,

 pursuant to Rule 3 of the Federal Rules of Civil Procedure, and files herein her Complaint

 against the Defendant, DONALDSON COMPANY, INCORPORATED and shows the

 Court as follows:

                                JURISDICTION AND VENUE

       1.      This suit is brought and jurisdiction lies pursuant to §28 U.S.C. § 1331. This is an

action authorized and instituted pursuant to the Americans with Disabilities Act (“ADA”), 42

U.S.C §12101 et. seq.

       2.      The employment practices alleged to be unlawful were and are now being

committed within the jurisdiction of the United States District Court for the Southern District of

Indiana, Indianapolis Division. Therefore, venue is proper within this District and Division

pursuant to 28 U.S.C. §1391.

       3.      This Court has Supplemental jurisdiction over any state law claims alleged in this

Complaint, pursuant to the Judicial Improvements Act of 1990, 28 U.S.C. 1367. Jurisdiction is

proper as the state law claims for negligence arise out of the same transaction or occurrence that



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is the subject matter of the federal claims in this Complaint. Accordingly, justice and judicial

economy require that this Court assert supplemental jurisdiction over any state law matters

alleged in this Complaint.

                                            PARTIES

        4.     The Plaintiff is a citizen of the United States and is a qualified employee under 42

U.S.C §12111(4).

        5.     At all times relevant hereto, Plaintiff was an “employee” of the Defendant.

        6.     The Defendant is a qualified employer as the term is defined in 42 U.S.C.

§12111(5).

        7.     Defendant is a foreign for-profit corporation registered with the Indiana Secretary

of State.

                             ADMINISTRATIVE PROCEDURES

        8.     On or about November 23, 2020, Plaintiff filed charges of discrimination alleging

violations of the ADA with the Equal Employment Opportunities Commission (“EEOC”),

Charge Number 470-2020-04078.

        9.     On or about October 25, 2021, Plaintiff sent a request for a Notice of Right to Sue

from EEOC for Charge Number 470-2020-04078, as over 180 days had passed since filing with

EEOC.

        10.    On or about October 26, 2021, Plaintiff received a Notice of Right to Sue from

the EEOC for Charge Number 470-2020-04078, entitling her to commence action within ninety

(90) days of his receipt of the Notice. A copy of the Notice is attached hereto and incorporated

herein by reference as Exhibit “A”.




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       11.     The Complaint in this matter was filed within ninety (90) days of receipt of the

above referenced Notice of Right to Sue from the EEOC.

                                              FACTS

       12.     The Defendant hired Plaintiff in July of 2017 as temporary employee and hired

her on full-time in November of 2017.

       13.     Throughout her employment with Defendant, Plaintiff met or exceeded

Defendant’s legitimate expectations of performance.

       14.     When Plaintiff began her employment with Defendant, she made them aware of

her chronic migraines.

       15.     In November of 2017 when Plaintiff became eligible for FMLA, she submitted

FMLA documentation for her chronic migraines.

       16.     On or about February 28th, Plaintiff was hospitalized, and it was discovered that

she had two compressed disks, resulting in increased migraines and decreased mobility in her

right arm.

       17.     Starting March 1, 2020, Plaintiff went out of work on short term disability.

       18.     During her leave, Plaintiff was notified by a Human Resources Associate, Susan

Hodges, that if she did not return to work for at least thirty (30) days she would lose her health

insurance.

       19.     Plaintiff contacted Ms. Hodges regarding using her long-term disability benefit, as

she had been utilizing her short-term disability benefit, and was told she did not have long term

disability coverage.

       20.     Plaintiff had payroll deduction for both long- and short-term disability coverage.




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       21.     Plaintiff’s doctor approved her to return to work as long as she kept her

previously scheduled appointments.

       22.     Plaintiff notified Ms. Hodges that she would return to work but needed to use her

paid time off to attend upcoming medical appointments.

       23.     The Ms. Hodges told Plaintiff she would be able to use her paid time off for those

medical appointments.

       24.     On or about August 24, 2020, the Plaintiff took paid time off to attend doctor’s

appointments. That request was approved by plaintiff’s supervisor, John Roberts.

       25.     On or about August 25, 2020, Plaintiff went into work and placed the rest of her

requests for time off to attend her doctor’s appointments. These requests were approved by

plaintiff’s supervisor, John Robert.

       26.     Plaintiff was notified that the Human Resources Director had rescinded the time

off request and that she now had accumulated two points, when an employee reaches four points,

they are terminated by Defendant.

       27.     The Human Resources Director informed Plaintiff that any further paid time off

requests would not be approved, and she would receive points for the time off.

       28.     Plaintiff continued to attend her medical appointments and requested use of her

paid time off as she had discussed with Ms. Hodges.

       29.     On or about August 28, 2020, Plaintiff was terminated by the Defendant.

                                               COUNT I

                        DISCRIMINATION ON THE BASIS OF DISABILITY

       30.     Plaintiff hereby incorporates by reference paragraphs one (1) through twenty-nine

(29) as though previously set out herein.



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        31.     At all times relevant to this action, Plaintiff was a “qualified individual with a

disability” as that term is defined by 42 U.S.C. §12102 and §12111.

        32.     The conduct as described hereinabove constitutes discrimination based on

Plaintiff’s disability.

        33.     The Defendant willfully and intentionally failed to accommodate Plaintiff’s

disability.

        34.     Defendant intentionally and willfully discriminated against Plaintiff because she

is disabled and/or because Plaintiff has a record of being disabled and/or because Defendant

regarded Plaintiff as disabled.

        35.     Similarly situated non-disabled employees were treated more favorably in the

terms of privileges, and conditions of their employment.

        36.     Defendant’s actions were intentional, willful and in reckless disregard of

Defendant’s unlawful actions.

        37.     Plaintiff has suffered emotional and economic damages as a result of Defendant’s

unlawful actions.

        38.     Plaintiff asserts a claim against the Defendant for a violation of his rights under

the ADA.

                                      REQUESTED RELIEF

        WHEREFORE, Plaintiff, Kristin Frye, respectfully requests that this Court enter

judgment in her favor and:

        a.      Order Defendant to pay Plaintiff lost wages, unpaid bonuses and other economic

                benefits lost as a result of Defendant’s unlawful acts;




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       b.      Reinstatement to the position, salary and seniority level to which she would have

               been entitled but for the Defendant’s unlawful actions, or front pay in lieu of

               reinstatement;

       c.      Pay compensatory damages;

       d.      Pay punitive damages;

       e.      Pay liquidated damages

       f.      Pay lost future wages

       g.      Pay All costs and attorney’s fees incurred as a result of bringing this action;

       h.      Payment of all pre- and post-judgment interest;

       i.      Provide to Plaintiff all other legal and/or equitable relief this Court sees fit to

               grant.



                                 DEMAND FOR JURY TRIAL

       The Plaintiff, Kristin Frye, by counsel, respectfully requests a jury trial for all issues

deemed so triable.


                                                       Respectfully submitted:
                                                       /s/ Leah N. Miller
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